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     IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

       MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION

UNITED STATES OF AMERICA             )
                                     )        CRIMINAL ACTION NO.
      v.                             )         2:12cr48-MHT
                                     )              (WO)
MICHAEL SMITH                        )

                                  ORDER

      Based on the representations made during today’s on-

the-record conference call and the submissions of both

sides,     it   is   ORDERED    that     defendant    Michael     Smith’s

motion to continue trial (doc. no. 292) is denied.                         As

defendant Smith admitted that the thrust of his concern

is   the   content     of   new   and    different     statements         and

testimony from witnesses, the court believes this can

concern can be adequately addressed at trial, without a

continuance.

      DONE, this the 5th day of June, 2013.

                                           /s/ Myron H. Thompson
                                       UNITED STATES DISTRICT JUDGE
